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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION



 CAROLYN K. REED,
                        Plaintiff, CIVIL ACTION FILE

VS .                                                      NO. 1 :04-cv-2870-CAP

 UNITED STATES OF AMERICA ,
                        Defendant .




                                        JUDGMENT

       This action having come before the Court for consideration following a bench trial

on July 7-9 , 2006 , before Judge Charles A . Pannell, Jr . . The issues have been tried or

heard and the court having issued its Findings of Fact and Conclusions of Law, it is,

        Ordered and Adjudged that there is no liability on the part of the United States

concerning the crash of N4015W .

        Dated at Atlanta , Georg i a , this 31 st day of August , 2006 .



                                                               JAMES N . HATTEN
                                                               CLERK OF COURT


                                                       By:     s/Elaine P. Moore
                                                               Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  August 31, 2006
James N. Hatter
Clerk of Court

By :   s /Elaine P . Moore
        Deputy Clerk
